        Case 4:24-cv-00251-RSB-CLR Document 5 Filed 11/08/24 Page 1 of 5




                  UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF GEORGIA
                       SAVANNAH DIVISION

B.S.,                                  )
                                       )
                Plaintiff,             )
                                       )
v.                                     )              CV424-251
                                       )
JAY SHREE MAA DURGA, INC.              )
d/b/a Baymont By Wyndham               )
Hinesville,                            )
                                       )
                Defendant.             )

                                   ORDER

        Plaintiff alleges she is the victim of sex trafficking and brings

claims under the Trafficking Victims Protection Reauthorization Act

(TVPRA) against the owner and manager of the Baymont by Wyndham

where she was trafficked. See generally doc. 1. She filed her Complaint

using her initials, see generally id., and seeks the Court’s leave to pursue

her claims anonymously, see doc. 2. Although Defendant has not yet

appeared, Plaintiff believes that Defendant “will consent to Plaintiff

proceeding without publicly disclosing her name,” doc. 1 at 3. Plaintiff

agrees to disclose her name to the Defendant. Doc. 2 at 2; see also doc. 1

at 3.
     Case 4:24-cv-00251-RSB-CLR Document 5 Filed 11/08/24 Page 2 of 5




     “Lawsuits are public events, and the public has a presumptive right

to know the identity of the litigants who use the courts to resolve their

disputes.” Freedom From Religion Foundation, Inc. v. Emanuel County

School System, 109 F. Supp. 3d 1353, 1356 (S.D. Ga. 2015) (internal cites

and quotations omitted). By rule, “[t]he title of the complaint must name

all the parties. . . .” Fed. R. Civ. P. 10(a). This requirement is more than

just procedural, as “First Amendment guarantees are implicated when a

court decides to restrict public scrutiny of judicial proceedings.” Freedom

From Religion Foundation, 109 F. Supp. 3d at 1356 (citing Doe v. Stegall,

653 F.2d 180, 185 (5th Cir. 1981)). “Although this creates a strong

presumption in favor of parties proceeding in their own names, the rule

is not absolute.” Doe v. Neverson, 820 F. App'x 984, 986 (11th Cir. 2020)

(quoting Plaintiff B v. Francis, 631 F.3d 1310, 1315 (11th Cir. 2011)

(internal quotations and alterations omitted)). To proceed anonymously,

a party must establish “a substantial privacy right which outweighs the

‘customary and constitutionally-embedded presumption of openness in

judicial proceedings.’ ” Doe v. Frank, 951 F.2d 320, 323 (11th Cir. 1992)

(quoting Stegall, 653 F.2d at 186).




                                      2
     Case 4:24-cv-00251-RSB-CLR Document 5 Filed 11/08/24 Page 3 of 5




     To determine whether a party’s privacy interest outweighs the

public’s interest in open court proceedings, the Eleventh Circuit has

established a two-step test. See In re: Chiquita Brands International,

Inc., 965 F.3d 1238, 1247 (11th Cir. 2020). As the “first step,” the Court

should analyze three factors, first set forth in S. Methodist Univ. Ass'n of

Women Law Students v. Wynne & Jaffe, 599 F.2d 707 (5th Cir. 1979)

(SMU): whether the party seeking anonymity (1) is challenging

government activity; (2) would be compelled, absent anonymity, to

disclose information of the utmost intimacy; or (3) would be compelled,

absent anonymity, to admit an intent to engage in illegal conduct and

thus risk criminal prosecution. In re Chiquita Brands International, 965

F.3d at 1247 (citing Plaintiff B, 631 F.3d at 1316).

     After analyzing these factors, as the second step, the Court “should

carefully review all the circumstances of a given case and then decide

whether the customary practice of disclosing the plaintiff’s identity

should yield to the plaintiff’s privacy concerns.” In re Chiquita Brands

International, 965 F.3d at 1247 (internal quotation marks, citation, and

emphasis omitted). The Eleventh Circuit noted in Chiquita Brands that,

although a court must consider the SMU factors, “[i]n practice . . .


                                     3
      Case 4:24-cv-00251-RSB-CLR Document 5 Filed 11/08/24 Page 4 of 5




whether a party’s right to privacy overcomes the presumption of judicial

openness is a totality-of-the-circumstances question.” Id. at n. 5. In

considering whether proceeding anonymously is appropriate, the

Eleventh Circuit has considered “whether the plaintiffs were minors,

whether they were threatened with violence or physical harm by

proceeding in their own names, and whether their anonymity posed a

unique threat of fundamental unfairness to the defendant.” Plaintiff B,

631 F.3d at 1316 (citations omitted).

      Since one of the factors to be considered is the risk of unfairness to

the Defendant, the Court will withhold ruling on Plaintiff’s Motion until

Defendant has an opportunity to respond. Ordinarily a party has 14 days

to respond to a motion from the date of service. See S.D. Ga. L. Civ. R.

7.5. However, given that Defendant has not yet appeared and the status

of service of the Summons and Complaint is currently unknown, for

clarity, the Court sua sponte extends Defendant’s time to respond to

Plaintiff’s Motion. See, e.g., Fed. R. Civ. P. 6(b)(1); S.D. Ga. L. Civ. R. 7.5.

Defendant is DIRECTED to file its response to Plaintiff’s Motion for




                                       4
     Case 4:24-cv-00251-RSB-CLR Document 5 Filed 11/08/24 Page 5 of 5




Protective Order and Leave to Proceed via Initials, doc. 2, within 14 days

of its appearance in this case.

     SO ORDERED, this 8th day
                            y of November,, 2024.


                             CHRISTOPHER
                                IST
                                  TOPH
                                     HER L. RAY
                             UNITED STATES MAGISTRATE JUDGE
                             SOUTHERN DISTRICT OF GEORGIA




                                    5
